 Case 98-02675-5-DMW                           Doc 3167 Filed 10/29/07 Entered 10/30/07 11:22:47   Page 1 of
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                                                                                                    Claim No.: 005641
                                                                                                     Amount: $365.00




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*974022204406*
CRAIG BERG
4940 PARSONS AVE.
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